Case 2:17-cv-00662-JRG-RSP Document 262 Filed 12/14/18 Page 1 of 1 PageID #: 7555



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   INTELLECTUAL VENTURES II                  §
   LLC,                                      §
                                             §
            Plaintiff,                       §         No. 2:17-CV-00662-JRG-RSP
                                             §
   v.                                        §
                                             §
   SPRINT SPECTRUM, L.P. ET AL,              §
                                             §
            Defendants.                      §

        .                                ORDER

            Before the Court is Defendants’ Objection (Dkt. No. 245) to the Magistrate

  Judge's Claim Construction Order (Dkt. No. 232). The undersigned has reviewed

  Magistrate Judge Payne’s claim construction order and the Defendants’ objections. The

  undersigned OVERRULES the Defendants’ objections and ADOPTS Judge

  Payne’s claim construction order.
             SIGNED this 19th day of December, 2011.
            So ORDERED and SIGNED this 14th day of December, 2018.




                                                     ____________________________________
                                                     RODNEY GILSTRAP
                                                     UNITED STATES DISTRICT JUDGE
